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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


      UNITED STATES, et al.,

                                     Plaintiffs,

             vs.                                               No. 1:23-cv-00108-LMB-JFA

      GOOGLE LLC,

                                     Defendant.



                              GOOGLE LLC’S NOTICE OF FILING

            As directed by the Court (Dkt. Nos. 547 & 871) Defendant Google LLC (“Google”)

     has objected to the public use of certain trial exhibits (Dkt. No. 985). Notice is given of the

     filing of REDACTED EXHIBITS attached hereto.
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     Dated: July 26, 2024.                Respectfully submitted,

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